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FoR THE WESTERN DisTRICT oF TENNESSEE _ 3 8
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UNITED STATES OF AMERICA

 

V. Cr. No. 05-20298-Ml
KIMBERLY GOODMAN
ORDER SPECIFYING PERIOD OF
DELAY EXCLUDABLE UNDER SPEEDY TRIAL ACT

The defendant has this day notified the Couit that he or she is attempting to obtain private
counsel to represent him or her in this action. Pursuant to the Speedy Tria] Act, as set out in 18
U.S.C. § 3161(h)(8)(B)(iv), a defendant may be granted a period of excludable delay While
attempting to obtain private counsel

IT IS THEREFORE ORDERED that the time period ofAugust 31, 2005 through September
14, 2005 be excluded from the time limits imposed by the Speedy Trial Act for trial of this case,
while the defendant is attempting to obtain private counsel.

ARRAIGNMENT IS RESET TO WEDNESDAY, September 14, 2005 at 9:30 a.m.

BEFORE MAGISTRATE JUDGE VESCOVO.

§ dam dam

UNITED STATES MAGISTRATE JUDGE

DATE: 08/31/05

This document entered on the docket sheet in compliance
with Rule 55 and/er 32(b) FRCrP on “ ¢Q~ "‘U

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20298 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

William D. Massey
MASSEY & MCCLUSKY
3074 East Street

l\/lemphis7 TN 38128

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

